






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-441 CV


____________________



KOLL REAL ESTATE GROUP, INC., Appellant



V.



PHILLIP SMILIE, ET AL., Appellees






On Appeal from the 58th District Court


Jefferson County, Texas


Trial Cause No. A-168149






MEMORANDUM OPINION (1)


	The appellant, Koll Real Estate Group, Inc., filed a motion to dismiss this
accelerated interlocutory appeal because the issues made the basis of this appeal have been
mooted by its dismissal from the suit pending in the trial court.  The Court finds that the
motion is voluntarily made by the motion of the appellant prior to any decision of this
Court and should be granted.  Tex. R. App. P. 42.1(a)(1).

	It is, therefore, ORDERED that the motion to dismiss be granted and the appeal is
therefore DISMISSED without reference to the merits of the appeal.  Appellate costs are
assessed against the appellant.	

				

									PER CURIAM



Opinion Delivered December 18, 2003 

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


